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JS-CAND 44 (Rev. 10/2020)

CIVIL COVER SHEET

The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1944, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

Jackson Family Wines, Inc. and LC TM Holding, LLC

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

 

DEFENDANTS
E. & J. Gallo Winery

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (if Known)

Dickenson, Peatman & Fogarty
1455 First Street, Suite 301, Napa, CA 94559
707.252.7122

Holmes Weinberg, P.C.
30765 Pacific Coast Highway, Suite 411, Malibu, CA 90265
310.457.6100

 

 

 

 

 

 

130 Miller Act
140 Negotiable Instrument

150 Recovery of
Overpayment Of
Veteran's Benefits

151 Medicare Act

152 Recovery of Defaulted
Student Loans (Excludes
Veterans)

153 Recovery of
Overpayment

of Veteran’s Benefits
160 Stockholders’ Suits
190 Other Contract
195 Contract Product Liability
196 Franchise

315 Airplane Product Liability

320 Assault, Libel & Slander

330 Federal Employers’
Liability

340 Marine

345 Marine Product Liability

350 Motor Vehicle

355 Motor Vehicle Product
Liability

360 Other Personal Injury

362 Personal Injury -Medical

Liability

367 Health Care/
Pharmaceutical Personal
Injury Product Liability

368 Asbestos Personal Injury
Product Liability

PERSONAL PROPERTY

370 Other Fraud

371 Truth in Lending

380 Other Personal Property
Damage

385 Property Damage Product

690 Other

§ 157

 

 

 

 

 

REAL PROPERTY

 

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

 

Malpractice Liability

CIVIL RIGHTS PRISONER PETITIONS
440 Other Civil Rights HABEAS CORPUS
441 Voting 463 Alien Detainee

442 Employment

443 Housing/
Accommodations

445 Amer. w/Disabilities—
Employment

446 Amer. w/Disabilities—Other

448 Education

 

510 Motions to Vacate
Sentence

530 General
$35 Death Penalty
OTHER

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee—
Conditions of
Confinement

 

 

LABOR PROPERTY RIGHTS
710 Fair Labor Standards Act | 820 Copyrights
720 Labor/Management 830 Patent
Relations 835 Patent—Abbreviated New

740 Railway Labor Act | Drug Application
751 Family and Medical * 840 Trademark
Leave Act 880 Defend Trade Secrets
790 Other Labor Litigation Act of 2016
791 Employee Retirement [SOCIALSECURITY_|
Income Security Act 861 HIA (1395f1)
IMMIGRATION | 862 Black Lung (923)
462 Naturalization 863 DIWC/DIWW (405(g))
Application 864 SSID Title XVI
465 Other Immigration 865 RSI (405(g))
Actions
FEDERAL TAX SUITS
| 870 Taxes (U.S. Plaintiff or
| Defendant)

871 IRS—Third Party 26 USC
§ 7609

 

II. BASIS OF JURISDICTION (Place an "x" in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
1 US.G t Plaintiff 3. Federal Questi ae ge ee
.S. Government Plainti ‘ederal Question a This Principal Ple
x (U.S. Government Not a Party) Citizen of This State I 1 Incorporated ar Principal Place 4 4
of Business In This State
Citizen of Another State 2 2 Incorporated and Principal Place 5 5
2 U.S. Government Defendant 4 Diversity ‘6c
(Indicate Citizenship of Parties in Item ITI) .. . of Business In Another State
Citizen or Subject of a 3 3 Foreign Nation 6 6
Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY 625 Drug Related Seizure of 422 Appeal 28 USC § 158 375 False Claims Act
120 Marine 310 Airplane 365 Personal Injury — Product Property 21 USC § 881 | 423 Withdrawal 28 USC 376 Qui Tam (31 USC

§ 3729(a))
400 State Reapportionment
410 Antitrust
430 Banks and Banking
450 Commerce
460 Deportation

470 Racketeer Influenced &
Corrupt Organizations

480 Consumer Credit

485 Telephone Consumer
Protection Act

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of State
Statutes

 

V. ORIGIN (Place an “X" in One Box Only)

 

 

 

 

 

* 1 Original 2 Removed from 3. Remanded from 4 Reinstated or 5 Transferred from 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District (specify) Litigation-Transfer Litigation—Direct File
VL CAUSE OF Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
15 U.S.C. Sec, 1114, 15 U.S.C. Sec, 1125(a), Cal. Bus, & Prof. Code Sec. 14247, Cal. Bus. & Prof, Code Sec. 17200
ACTION 2 _
Brief descrintion of cause:
Infringement of a federally registered trademark and unfair competition, California trademark dilution and California unfair competition

VII. REQUESTEDIN — CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, Fed. R. Civ. P. JURY DEMAND: x Yes No
VIII. RELATED CASE(S), JUDGE DOCKET NUMBER

IF ANY (See instructions):
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only) x SAN FRANCISCO/OAKLAND SAN JOSE EUREKA-MCKINLEYVILLE

 

DATE 03/31/2021

SIGNATURE OF ATTORNEY OF RECORD

 
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JS-CAND 44 (rev. 10/2020)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use

b)

c)

Il.

iil.

Iv.

Vv.

VI.

VI.

only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment).”

Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

(1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here,
(2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

(3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States, In cases where the U.S. is a party, the U.S. plaintiff or defendant code
takes precedence, and box | or 2 should be marked.

(4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
Mark this section for each principal party.

Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
one nature of suit, select the most definitive.

Origin. Place an “X” in one of the six boxes.
(1) Original Proceedings. Cases originating in the United States district courts.

(2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
petition for removal is granted, check this box.

(3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

(4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

(5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

 

(6) Multidistrict Litigation Transfer, Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
§ 1407. When this box is checked, do not check (5) above.

(8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.

Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.

Jury Demand, Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket

IX.

numbers and the corresponding judge names for such cases.

Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”

Date and Attorney Signature. Date and sign the civil cover sheet.
